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lN THE UNITED STATES DlSTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
11, .
TABITHA N. WEBB, ) `
Petitioner, §
VS. § No. 05-1186-T/An
DAVID L. WOOLFORK, §
Respondent. §

 

ORDER DENYING PETITIONER’S MOTION FOR CHANGE OF VENUE

 

On July 5, 2005, petitioner Tabitha N. Webb filed a petition for Writ of habeas corpus
pursuant to 28 U.S.C. § 2254, along With a motion to proceed in forma pauperis and a
motion for change of venue. The motion for change of venue also requests that the
undersigned judge recuse himself from presiding over this action.

As grounds for a change of venue, petitioner states that there vvas extensive media
coverage of her state court trial for animal cruelty in Madison County, Tennessee, Which will
make a fair and impartial trial in this case impossible As this is a habeas petition, the
possibility of media coverage having influenced potential jurors is not a factor Hovvever,
petitioner apparently asserts that the media coverage renders this judge unable to render an
impartial decision on her petition. Petitioner also contends that recusal is necessary because

she is “good friends of [Madison County General Sessions] Judge Christy Little, Who

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worked along with” Jeanie Todd, who is the judge’s wife. Petitioner further contends that
this judge “had a Shar-pei” from her place of business
Pursuant to 28 U.S.C. § 144:

Whenever a party to any proceeding in a district court makes and files a timely
and sufficient affidavit that the judge before whom the matter is pending has
a personal bias or prejudice either against him or in favor of any adverse party,
such judge shall proceed no further therein, but another judge shall be assigned
to hear such proceeding

ln addition, 28 U.S.C. § 455(a) provides that a judge shall disqualify himself “in any
proceeding in which his impartiality might reasonably be questioned.” Circumstances under
which ajudge must disqualify himselfinclude:

(l) Where he has a personal bias or prejudice concerning a party, or
personal knowledge of disputed evidentiary facts concerning the
proceedings;

(2) Where in private practice he served as lawyer in the matter in
controversy, or a lawyer with whom he previously practiced law served
during such association as a lawyer concerning the matter, or the judge
or such lawyer has been a material witness concerning it;

(3) Where he has served in governmental employment and in such capacity
participated as counsel, adviser, or material witness concerning the
proceeding or expressed an opinion concerning the merits of the
particular case . . .;

(4) He knows that he . . has a financial interest in the subject matter in
controversy;

(5) He or his spouse . . . :

(i) ls a party to the proceeding . . . ;

(ii) Is acting as a lawyer in the proceeding;

(iii) Is known by the judge to have an interest that could be substantially
affected by the outcome of the proceeding;

(iv) Is to the judge’s knowledge likely to be a material witness in the
proceeding

23 u.s.c. § 455(b).

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A judge must recuse himself if, knowing all the circumstances, a reasonable,
objective person would question thejudge’s impartiality U.S. v. Sammons, 918 F.2d 592,
599 (61h Cir. 1990) (citations omitted). “The standard is an objective one; hence, the judge
need not recuse himself based on the ‘subjective view of a party’ no matter how strongly that
view is held.” l_cL (citations omitted). Bias sufficient to justify recusal must be personal,
arising out of the judge’s background, and not based on the judge’ s interpretation of the law.
Browning v. Foltz, 837 F.2d 276, 279 (6"‘ Cir. 1988). A judge’s participation in the
proceedings or prior contact with related cases cannot support a demand for recusal.
Sammons, 918 F.2d at 599. Sections 144 and 455 are to be read in pari materia to require
that disqualification be predicated upon extrajudicial conduct, rather than judicial conduct,
and to require that the alleged bias and prejudice be personal rather than judiciall DM
M, 734 F.2d 1302, 1303 (8th Cir. 1984); Shaw v. Martin, 733 F.2d 304, 308 (4th Cir.
1984); United States v. Carmichael, 726 F.2d 158, 160 (4th Cir. 1984); United States v. Stog;,
716 F.2d 108 8, 1096 (6th Cir. 1983). Ajudge is presumed to be impartial, and aparty seeking
disqualification bears the burden of alleging facts that would lead a reasonable person to
question the neutrality ofthejudge. United States v. Adams, 38 F.3d 1217, 1994 WL 589509
(6th Cir. 1994) (citing Holtv. KMI Continental_ lnc., 821 F. Supp. 846, 847 (D. Conn. 1993)).

The reasons offered by the petitioner for recusal are insufficient to lead a reasonable,

objective person to question this judge’s impartiality in the present action. While there was

 

l The Supreme Court has held that § 455(b)’s “extrajudicial source” doctrine also applies to§ 455(3). Litelg v.
United States, 114 S. Ct. at ll47 (1994).

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media coverage of the petitoner’s state court trial, it was not so extensive that the
undersigned is unable to render an unbiased decision In addition, the fact that petitioner
may be friends with Judge Little, who “worked along with” Jeanie Todd, is immaterial.
There is no evidence that Judge Little had any role in petitioner’s state court trial, which was
presided over by Madison County Circuit Court Judge Roger A. Page. Finally, this judge
does not own, and has never owned, a shar-pei or any other dog obtained from petitioner’s
establishment

F or all these reasons, petitioner’s motion for change of venue and for recusal ofthis
judge is DENIED.

Petitioner has also requested the recusal of Magistrate Judge S. Thomas Anderson
and Judge J. Daniel Breen. lt will be Magistrate Anderson’s responsibility to rule on
whether he should recuse himself. As for Judge Breen, this case is not assigned to him. If
this case is ever transferred to Judge Breen, petitioner may renew her motion for recusal at
that time.

lT IS SO ORDERED.

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S D. TODD
UNITED STATES DISTRlCT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:05-CV-01186 was distributed by faX, mail, or direct printing on
July 18, 2005 to the parties listed.

 

 

Tabitha N. Webb
PO Box 1451
Jackson, TN 38302

Honorable J ames Todd
US DISTRICT COURT

